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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

DONALD WINNETT                                                  PLAINTIFF
ADC# 139544

v.                      No. 4:24-cv-1032-DPM

JOHN FELTS, Chair, Arkansas
Post Prison Trans£er Board;
BRENT MORGAN, Member,
Arkansas Post Prison Transfer
Board; LONA MCCASTLAIN,
Director, Arkansas Post Prison
Transfer Board; WILLIE ROBINSON,
Member, Arkansas Post Prison
Transfer Board; ANDY SHOCK,
Member, Arkansas Post Prison
Transfer Board; WENDY LYALS,
Member, Arkansas Post Prison
Transfer Board; SARAH HUCKABEE
SANDERS, Governor, Arkansas; and
DOUG SMITH, Member, Arkansas
Post Prison Transfer Board                                   DEFENDANTS

                                ORDER
     This case is closed. Winnett' s recent motions are misdirected.
The proper course for him now is to appeal the Court's Judgment. The
Court expresses no opinion about whether an appeal would be timely
because that is for the Court of Appeals to decide.
     Winnett asks the Court to waive his filing fee and to remove the
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"strike" from his record. Doc. 22. The Court's January 2025 Order,
Doc. 10, explains why the Clerk of Court is collecting monthly
payments from Winnett' s prison trust account.                     That Order also
explains when the collections will cease.           The Court doesn't have
discretion to waive the fee as Winnett requests. 28 U.S.C. § 1915(b).
The Court cannot add or remove a "strike" from Winnett' s record,
either. If Winnett moves to proceed in federal court in forma pauperis
again, the court handling his case (whether this one or another one) will
decide if he can do so in the circumstances. 28 U.S.C. § 1915(g).
     Winnett wants this Court to reopen his case and then transfer it to
another division in this district.    Doc. 23. He accuses the Court of
playing games. He is mistaken. The Court dismissed Winnett' s case
because he failed to state a claim upon which any court could grant him
relief. The Court stands by its decision. The Court has also explained
why the divisional issue is a non-issue. Winnett says he will appeal.
That is his right. But unless the Court of Appeals decides otherwise,
Winnett' s pursuit of his case in this Court has ended.
     Winnett' s motions, Doc. 22 & 23, are denied.
     So Ordered.

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                                  D .P. Marshall Jr. 77
                                  United States District Judge

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